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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

   JOHN DOE,

                 Plaintiff,
                                             CASE NO. 6:20-cv-01220-WWB-LRH
   vs.

   EMBRY-RIDDLE AERONAUTICAL
   UNIVERSITY, INC.,

                 Defendant.
                                             /

                         DEFENDANT’S PROPOSED VERDICT FORM

   1. With respect to Plaintiff’s Title IX claim, did the Plaintiff prove by a preponderance of
      the evidence that Embry-Riddle Aeronautical University, Inc. intentionally deprived
      him of educational opportunities or benefits because of his gender?

                               YES_______           NO________

          Proceed to next Question.

   2. With respect to Plaintiff’s breach-of-contract claim, did the Plaintiff prove by a
      preponderance of the evidence that Embry-Riddle materially breached its contract
      with Plaintiff under the Sexual Misconduct Policy or Resolution Process?

                               YES_______           NO________

          If you answered “NO” to Questions 1 and 2, stop here, sign the verdict form, and
          return it to the marshal. If you answered “YES” to Question 1 or 2, proceed to next
          Question.

   3. Enter the amount of compensatory damages that the Plaintiff proved by a
      preponderance of the evidence.

                               $______________________________

          Proceed to next Question.

   4. Enter the amount of special damages that the Plaintiff proved by a preponderance of
      the evidence.
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                             $______________________________

         Proceed to the next Question.

   5. Did Embry-Riddle Aeronautical University, Inc. prove by a preponderance of the
      evidence that the Plaintiff has unclean hands?

                             YES_______          NO________

         ***STOP HERE. Please sign the verdict form and return it to the marshal.
